                 UNITED STATES BANKRUPTCY COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN
                            (DETROIT)

In Re:

Dailey Law Firm PC                  Case No. 23-45970-mlo
                                    Chapter 11
       Debtor.                      Hon. Maria L. Oxholm
__________________________________________________________________/

  MOTION AND INCORPORATED BRIEF IN SUPPORT BY COURT
  APPOINTED RECEIVER JOHN POLDERMAN, ESQ. TO CONFIRM
AUTOMATIC STAY IS NOT IN EFFECT OR IN THE ALTERNATIVE TO
         LIFT STAY AS TO THE INTERPLEADER CASE

         John Polderman, Esq., as pre-petition Receiver of the assets of the Dailey

Law Firm PC (“DLF”) (the “Receiver”), by and through the undersigned counsel,

hereby moves (the "Motion") this Court for an order determining that the automatic

stay provided section 362 of the United States Code (11 U.S.C. §§ 101 et seq.) (the

“Bankruptcy Code”) does not prevent liquidation and distribution of certain funds

held in DLF’s IOLTA trust account or in the alternative that the stay is lifted as to

the disposition allocation and payment of the funds.

                           JURISDICTION AND VENUE

         1.   This Court has jurisdiction over this proceeding pursuant to 28 U.S.C.

§1334.

         2.   This is a core proceeding pursuant to 28 U.S.C. §157(B)(2)(A).

         3.   Venue is proper in this Court pursuant to 28 U.S.C. §§1408 and 1409.
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                            FACTUAL BACKGROUND

      4.       The Wayne County Circuit Court appointed the Receiver over the

assets of DLF, as well as the owner and sole shareholder of the Debtor, Brian Dailey

in an interpleader action captioned The Dailey Law Firm vs. Jody Ingram et. al.,

case no. 21-007081 (“Interpleader Case”) (See Exhibit A, Order Appointing

Receiver and Exhibit B, Complaint).

      5.       As part of a settlement of a client’s personal injury case, DLF claimed

to be holding no-fault insurance and disability proceeds in the amount of

$166,135.40 in its client trust account for payment to various medical providers.

      6.       However, as the initial settlement amount was $600,000, the

interpleader defendants asked for an accounting of the settlement proceeds.

      7.       The initial accounting from The Dailey Law Firm revealed a number

of problems:

                  a. Under relevant personal injury protection law, Brian Dailey and

                     the Dailey Law Firm cannot take a 1/3 fee on amounts the insurer

                     voluntarily pays to providers. Thus, the Dailey Law Firm’s fees

                     should have been calculated by taking the $600,000, subtracting

                     $2,404.68 in case expenses (unproven but plausible) and taking

                     33% of the rest. That would have been $199,198.44 in fees +

                     $2,404.68 in expenses = $201,603.12 to DLF.

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               b. Instead, he calculated his fee based on an extra $97,146.45

                  voluntarily paid to pay himself-- an extra $32,382.15. This is

                  wrong.

               c. Next, he allegedly paid two of the medical providers $51,500 but

                  ignored all the other providers. Normally, if there isn’t going to

                  be enough to pay all providers there is a motion filed under MCL

                  500.3112 to have the trial court allocate the settlement among

                  the providers, the attorney, and the client. Brian Dailey and DLF

                  didn’t do this.

               d. Next, instead of paying the providers (so as to protect the client

                  from collections), he paid himself for alleged litigation over a

                  disability insurance dispute. Brian Dailey claimed to have had

                  $11,000 in expenses (not documented) and paid himself that plus

                  $148,379.33 for a total payment of $159,379.33. But his fee, if

                  warranted at all, was not calculated correctly. He paid himself

                  1/3 of the present value of all his client’s future disability

                  payments. But those payments were reduced when his client

                  received Social Security Disability, and pursuant to applicable

                  law (42 USC 406, Section 206(a)(1)), he can’t take more than a

                  $7,200 fee on getting such benefits (if he had anything to do with

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                   that at all).

                e. In sum, Brian Dailey and DLF paid themselves too much and

                   they took it from a fund that was only there because they didn’t

                   pay the providers as they should have.

      8.    After numerous machinations, the Wayne County Circuit Court

ordered The Dailey Law Firm to pay back the $600,000 settlement and the funds to

be placed in escrow (See Exhibit C, Order).

      9.    Brian Dailey and The Dailey Law Firm refused to return the $600,000,

and claimed that at most, only $155,000 of the original $600,000 existed in the

IOLTA trust account (“Interpleader Funds”) (See Exhibit D, Hearing Transcript):




      10.   As a result, the Wayne County Circuit Court appointed the Receiver to

investigate and account for the $600,000 in missing client funds.

      11.   To date, Brian Dailey and DLF have failed and refused to turnover the

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Interpleader Funds.

                                     Law And Argument

                                       The IOLTA Funds

      12.       Michigan Rules of Professional Conduct section 1.15(c) and (d)

provide that:

                (c) When two or more persons (one of whom may be the lawyer) claim interest in
                the property, it shall be kept separate by the lawyer until the dispute is resolved.
                The lawyer shall promptly distribute all portions of the property as to which the
                interests are not in dispute.

                (d) A lawyer shall hold property of clients or third persons in connection with a
                representation separate from the lawyer’s own property. All client or third person
                funds shall be deposited in an IOLTA or non-IOLTA account. Other property shall
                be identified as such and appropriately safeguarded.

       13.      Section 541(a) of the Bankruptcy Code states in part that the

bankruptcy estate consists of "all legal or equitable interests of the debtor in property

as of the commencement of the case." Notwithstanding the scope of the language

used in § 541(a), the estate's legal and equitable interests in property are no higher

or better than those of the debtor. See In re Engman, 395 B.R. 610, 617 (Bankr.

W.D. Mich. 2008).

       14.      Property interests in bankruptcy are created and defined by state law.

Butner v. United States, 440 U.S. 48, 55, 99 S. Ct. 914, 59 L. Ed. 2d 136 (1979).

       15.      Funds held by in an attorney’s client trust account are not property of

the bankruptcy estate. Alarmex Holdings, LLC v. Gowan (In re Dreier LLP), 527

B.R. 126, 134 (S.D.N.Y. 2014).
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       16.   Debtor’s own bankruptcy schedules reflect the fact that it does not

claim an interest in any funds held in its IOLTA account (See Dkt # 43, pages 4-5).

       17.   Despite not claiming an interest in the funds, and representing to the

Wayne County Circuit Court that it was prepared to turn over the Interpleader Funds

in the Interpleader Case, DLF has failed to release the Interpleader Funds.

                               The Interpleader Case

       18.   DLF is the Plaintiff in the Interpleader Case.

       19.   The Interpleader Case, among other things seeks an adjudication of the

rights of various claimants to the Interpleader Funds.

       20.   DLF does not have an interest in the Interpleader Funds, therefore the

Interpleader Case should proceed so as to allow the Wayne County Circuit Court to

adjudicate the rights of the various claimants to the Interpleader Funds.

       21.   Section 362(a) of the Bankruptcy Code provides an automatic stay of

      (1) “the commencement or continuation . . . to recover a claim against the
      debtor that arose before the commencement of the case . . .;

      (3) any act to obtain possession of property of the estate or of property from
      the estate or to exercise control over property of the estate;

      (6) any act to collect, assess, or recover a claim against the debtor that arose
      before the commencement of the case under this title

       22.   The Interpleader Case has absolutely no impact on the Debtor. There

is no obtaining possession of property of the estate or any act to collect, assess, or

recover a claim against Debtor.
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       23.    Alternatively, to the extent the Court determines that the automatic

stay applies to the relief requested by the Receiver, cause exists in this case for the

Court to grant the Receiver relief from the automatic stay.

       24.    Section 362(d)(1) of the Bankruptcy Code provides that “on request of

a party in interest and after notice and a hearing, the court shall grant relief from the

stay provided under subsection (a) of this section . . . for cause.” Because the

Bankruptcy Code does not define “cause,” courts have discretion to determine what

constitutes “cause” on a case-by-case basis based on the totality of the

circumstances. In re New York Med. Grp., P.C., 265 B.R. 408, 413 (Bankr. S.D.N.Y.

2001) (citing In re Sonnax Industries, Inc., 907 F.2d 1280, 1286 (2nd Cir. 1990));

Matter of Gatke Corp., 117 B.R. 406, 409 (Bankr. N.D. Ind. 1989) (citing In re

Boomgarden, 780 F.2d 657, 660 (7th Cir. 1985)). See also Little Creek Dev. Co. v.

Commonwealth Mortgage Corp. (In re Little Creek Dev. Co.), 779 F.2d 1068, 1072

(5th Cir. 1986) (discussing the inherent balancing required for the court’s

determination of whether a stay should be lifted under § 362(d)) (internal citations

omitted).

      25.    As the movant, the Receiver has the initial burden to show that cause

exists, but any party opposing the relief has the ultimate burden of disproving the

existence of cause. In re New York Med. Grp., P.C., 265 B.R. 408, 413 (Bankr.

S.D.N.Y. 2001) (citing 11 U.S.C. § 362(g)).

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      26.    Courts have developed a list of factors to consider when a party is

seeking relief to continue litigation in another forum, including: (i) whether the relief

will result in a partial or complete resolution of the issues; (ii) the lack of any

connection with or interference with the bankruptcy case; (iii) whether the foreign

proceeding involves the debtor as a fiduciary; (iv) whether a specialized tribunal has

been established to hear the particular cause of action and that tribunal has the

expertise to hear such cases; (v) whether the action essentially involves third parties

and the debtor functions only as a bailee or conduit for the goods or proceeds in

question; (vi) whether litigation in another forum would prejudice the interests of

other creditors, the creditors’ committee, and other interested parties; (vii) whether

the judgment claim arising from the foreign action is subject to equitable

subordination under Section 510(c); (viii) whether the movant’s success in the

foreign proceeding would result in a judicial lien avoidable by the debtor under

Section 522(f); (ix) the interest of judicial economy and the expeditious and

economical determination of litigation for the parties; (x) whether the foreign

proceedings have progressed to the point where the parties are prepared for trial; and

(xi) the impact of the stay on the parties and the balance of the hurt. In re Armstrong

& Guy Law Office, LLC, 2007 WL 4571152, at 1-2 (Bankr. S.D. Miss. Dec. 21,

2007) (citing In re Curtis, 40B.R. 795, 799 (Bankr. D. Utah 1984)). See also In re

United Imports, Inc., 203 B.R. 162, 166– 167 (Bankr. D. Neb.1996) (considering (i)

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judicial economy; (ii) trial readiness; (iii) the resolution of preliminary bankruptcy

issues; (iv) the creditor's chance of success on the merits; (v) the cost of the defense

or other potential burden to the bankruptcy estate; and (vi) the impact of the litigation

on other creditors, in the context of a request to continue a non-bankruptcy judicial

action).

      27.    Not all factors will be relevant in every case. Armstrong, 2007 WL

4571152, at 2 (citing In re Cook, 232 B.R. 554, 557 (Bankr. D. Conn. 1999)).

Additionally, these factors need not be assigned equal weight, and only those factors

relevant to the particular case need to be considered. In re U.S. Brass Corp., 176

B.R. 11, 13 (Bankr. E.D. Tex. 1994) (citing In re Keene Corp., 171 B.R. 180 (Bankr.

S.D.N.Y. 1994)).

      28.    In the context of the pending Interpleader Case in the Wayne County

Circuit Court, the foregoing factors weigh heavily in favor of this Court granting the

Receiver’s request.

      29.    First, rulings by the State Court would result in a resolution of the

disposition of the Interpleader Funds and bring closure to a case that has been

ongoing for several years. It is time for the complete resolution of this issue for the

claimants to the funds.

      30.    Second, a continuation of the Interpleader Case would have absolutely

no impact on the Debtor or this action. While there have been assertions, pre-

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bankruptcy, that a counter claim could be filed against DLF in the Interpleader Case,

the Receiver is simply proposing that the stay be lifted to allow the disposition and

allocation of the funds. To the extent that there are claims or counterclaims against

DLF, those would continue to be stayed. Accordingly, allowing the Wayne County

Circuit Court to rule on the disposition and allocation of the Interpleader Funds

would have no impact on this case.

      31.    Third, the Interpleader Case does arguably involve Debtor as a

fiduciary as he was holding funds on behalf of his clients. However, to the extent

those funds are turned over to the Receiver, this issue is moot and the Debtor is only

functioning as a trustee or custodian of the Interpleader Funds.

      32.    Fourth, allowing the Interpleader Case to continue, subject to the

conditions outlined herein, would not prejudice the interests of creditors or any other

interested parties.

      33.    Fifth, the allocation and distribution of the Interpleader Funds would

not result in any sort of judicial lien avoidable by Debtor under section 522(f) of the

Bankruptcy Code. No lien would be created at all.

      34.    Sixth, judicial economy would best be served by allowing the Wayne

County Circuit Court to administer and determine the ultimate recipients of the

Interpleader Funds. There is no reason the Wayne County Circuit should not go

forward with ruling on the ultimate recipients of the Interpleader Funds and

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determine their respective rights.

      35.    Based on the foregoing factors, there is good reason to grant the

Receiver’s requested relief and allow to allow the Interpleader Case to continue to

allow the Wayne County Circuit Court to hear motions and enter orders as to the

disposition, allocation and payment of the Interpleader Funds.

                                     Conclusion

      WHEREFORE the Receiver respectfully requests that an Order be entered

confirming that the automatic stay is not in effect and that the Interpleader Funds be

turned over to the Receiver for administration in the Interpleader Case and that the

Interpleader Case continue to allow the Wayne County Circuit Court to hear motions

and enter orders as to the disposition, allocation and payment of the Interpleader

Funds.. A proposed order is attached hereto as Exhibit E.

                                       Respectfully submitted,

                                       SIMON PLC ATTORNEYS &
                                       COUNSELORS

                                       /s/ John Polderman
                                       John Polderman (P65720)
                                       Court Appointed Receiver
                                       363 W. Big Beaver Road, Suite 410
                                       Troy, MI 48084
                                       Phone: 248-720-0290
                                       jpolderman@simonattys.com



Dated: July 26, 2023
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                        EXHIBIT “A”




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 ca                                       STATE OF MICHIGAN
  0                        IN THE CIRCUIT COURT FOR THE COUNTY OF WAYNE
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           DAILEY LAW FIRM, PC,

                 Plaintiff/Counter-Defendant

           V.

           MICHIGAN SPINE AND PAIN,                                    Case No. 21-007081-CZ
                Defendant/Counter-Plaintiff
                                                                       Hon. Adel Harb
           AND

::::.:::   JODY INGRAM; INTEGRATED COUNSELING
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UJ         SERVICES; SUMMIT PSYCHIATRIC SERVICES;
...J       CAPS CONSULTING, L.L.C.; TOTAL TOXICOLOGY;
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           MED TRUST L.L.C.; OPEN MRI OF LIVONIA;
           AMERICAN SPECIALTY PHARMACY D/B/A ASP
z          CARES; Ml IMAGING; PAIN ASSOCIATES OF
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0          MICHIGAN; CRAIG PEPPLER, D.O.; HENRY FORD
u          HEALTH SYSTEM; BLUE CROSS BLUE SHIELD
w          OF MICHIGAN; HEALHCARE IMAGING PARTNERS;
z          KRANS REHAB, L.L.C.; SPECTRUM REHABILITATION;
�          ASSOCIATED ORTHOPEDICS OF DETROIT; MICHIGAN
�          SPINE AND PAIN; MICHIGAN NEURO OPTHALMOLOGY;
           BINSON'S HOME HEALTHCARE; LABCORP;
           PERFORMANCE ORTHO; METRO DETROIT
           ENDOCRINOLOGY; MICHIGAN CRNAS STAFFING,
           LLC; SUSAN NELSON; ATI PHYSICAL THERAPY,

                 Defendants

           AND

UJ
u          MICHIGAN SPINE AND PAIN, a OBA of
LL         MICHIGAN REHABILITATION PHYSICIANS, PLC,
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>­               Counter/Third Party Plaintiff
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                 Third Party Defendant
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                ORDER APPOINTING COURT APPOINTED RECEIVER

                 At a session of said Court held on 6/26/2023
                        in the County of Wayne, State of Michigan

                                 Present: Hon. Adel Harb


      This matter having come before the Court pursuant to Defendant Ingram's Motion

for Entry of Order compelling Plaintiff Dailey Law Firm, PC and Third party Defendant

Brian Dailey, individually to show cause why they should not be held in contempt of Court

for failure to comply with Court orders dated February 27, 2023, and May 12, 2023, both

of which require Dailey and the Dailey Law firm to interplead the sum of Six Hundred

Thousand Dollars ($600,000.00) into an escrow account created by Robert S. Drazin,

said account to be under the control of the Court (hereinafter referred to as "the Court's

Orders"); Dailey and the Daily Law firm having failed to comply with this Court's orders
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regarding the same, by failing to interplead any funds; a request having been made by

Defendants in this matter for the appointment of a Receiver for purposes of gaining

compliance with this Court's orders, and the Court being otherwise informed as to the

premises:

         IT IS HEREBY ORDERED that JOHN W. POLDERMAN, ESQ., 363 West Big

Beaver Rd., #410, Troy Ml 48084 ("Receiver"), is hereby authorized to act with full

powers over the interests in personal, real, mixed and business assets ("assets") of Brian

T. Dailey, Individually, and the Dailey Law Firm, PC. wherever said assets are situated,

for purposes of enforcement of this Court's Orders of February 27, 2023 and May 12,

2023.

                               AUTHORITY OF RECEIVER

         IT IS HEREBY FURTHER ORDERED that the Receiver is hereby granted all

powers and authority conferred by statutes and case law, including but not limited to MCL

554.1011 et. seq., to control, sell, encumber, take possession of, lease or liquidate said

personal, real, mixed and business assets of Brian T. Dailey, Individually, and the Dailey

Law Firm, PC in order to gain compliance with the Court's orders of February 27, 2023

and May 12, 2023.

         IT IS HEREBY FURTHER ORDERED that the Receiver shall deposit into a

fiduciary checking account any and all monies, cash, funds, etc. from the liquidation of the

personal and interests in business assets of Brian T. Dailey, Individually, and the Dailey

Law Firm, PC, and that the Receiver shall not disburse said without an Order of this

Court.

         IT IS HEREBY FURTHER ORDERED that the Register of Deeds shall accept a

certified copy of this Order for recording, against any real property in which the Receiver

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determines that Brian T. Dailey, Individually, and the Dailey Law Firm, PC has an interest

in.

         IT IS HEREBY FURTHER ORDERED that responsibility for the Receiver's costs

and fees are solely the responsibility of Brian T. Dailey, Individually, and the Dailey Law

Firm, PC.

         IT IS HEREBY FURTHER ORDERED that the Receiver, while exercising his

duties, is deemed a ministerial officer of this Court whose jurisdiction over the assets

named in this Order shall be the same as the Court itself. See Cohen v Bologna, 52 Mich

App 149; 216 NW2d 586 (1974 ). No action, suit, proceeding, claim, or demand arising

from, in connection with, or relating to any of the assets and/or in the course of acting in

such court-appointed capacity shall be pursued against the Receiver by any party or non­

party without an allegation that the Receiver has acted in bad faith and without first

obtaining leave of this Court. See In re Motion to Sue Receiver of Venus Plaza Shopping

Center, 228 Mich App 357; 579 NW2d 99 (1998).

                               THE RECEIVERSHIP ESTATE

         IT IS HEREBY FURTHER ORDERED that the Receiver shall be empowered, but

not obligated to:

         (a)    Preserve, hold, and manage all receivership assets, and perform all acts

necessary to preserve the value of those assets, to prevent any loss, damage, or injury;

         (b)    Prevent the withdrawal or misapplication of funds;

         (c )   Initiate, defend, compromise, adjust, intervene in, dispose of, or become a

party to any actions or proceedings in state, federal, or foreign court necessary to

preserve or increase the assets of either party or to carry out her duties pursuant to this

Order;

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       (d)    Choose, engage, and employ realtors, attorneys, accountants, appraisers,

and other independent contractors and technical specialists, as the Receiver deems

advisable or necessary in the performance of duties and responsibilities under the

authority granted by this Order;

       (e )   Issue subpoenas to obtain documents and records pertaining to the

receivership, and conduct discovery in this action on behalf of the receivership estate;

and

       (f )   Make payments and disbursements from the receivership estate that are

necessary or advisable for carrying out the directions of this Court, or exercising the

authority granted by this Order.

                       RESTRAINT ON TRANSFER OF PROPERTY

       IT IS HEREBY FURTHER ORDERED that except as otherwise ordered by this

Court, the Brian T. Dailey, Individually, and the Dailey Law Firm, PC and any and all

persons acting in concert with him or on his behalf, are restrained and enjoined from

directly or indirectly transferring, selling, alienating, liquidating, encumbering, pledging,

leasing, loaning, assigning, concealing, dissipating, converting, withdrawing, or otherwise

disposing of the assets, except as otherwise ordered by this Court. This includes

disbursement of any settlement fund proceeds for any ongoing litigation for cases being

handled by the Brian T. Dailey, Individually, and the Dailey Law Firm, PC, excepting the

client's share and/or any lienholders.

       IT IS HEREBY FURTHER ORDERED that Brian T. Dailey, Individually, and the

Dailey Law Firm, PC and all persons or entities who receive notice of this Order by

personal service or otherwise, are restrained and enjoined from directly or indirectly

destroying, mutilating, erasing, altering, concealing, or disposing of, in any manner,

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directly or indirectly, any documents that relate to the business practices or business or

personal finances of Brian T. Dailey, Individually, and the Dailey Law Firm, PC

                                    BOND OF RECEIVER

       IT IS HEREBY FURTHER ORDERED that pursuant to MCR 2.622(C)(1) and (G),

bond shall be a personal bond based upon consideration of the following, but not limited

to, the following:

       1.      The value of the receivership estate, if known;

       2.      The amount of cash or cash equivalents expected to be received into the

receivership estate;

       3.      The amount of assets in the receivership estate on deposit in insured financial

institutions or invested in US treasury obligations;

       4.      Whether the assets in the receivership estate cannot be sold without further

order of the Court;

       5.      If the Receiver is an entity, whether the Receiver has sufficient assets or

acceptable errors and omissions insurance to cover any potential losses or liabilities of the

receivership estate;

       6.      The extent to which any secured creditor is under-secured;

       7.      Whether the receivership estate is a single parcel of real estate involving few

trade creditors; and

       8.      Whether parties have agreed to a nominal bond.

                                      RECEIVER'S LIEN

       IT IS HEREBY FURTHER ORDERED that the Receiver shall be authorized to

record a claim of interest against any real and/or personal property in which Brian T.

Dailey, Individually, and the Dailey Law Firm, PC retains a fee simple interest in and the

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recordation of the Receiver's claim of interest shall constitute notice of the Receiver's lien

for any of the Receiver's unpaid fees and costs.

                               RETENTION OF JURISDICTION

       IT IS HEREBY FURTHER ORDERED that the balance of any Judgment or orders

of this Court previously entered shall remain in full force and effect and this Court retains

jurisdiction of this matter for all purposes.

       IT IS SO ORDERED.
                                                    /s/ Adel A. Harb 6/26/2023
                                                    CIRCUIT COURT JUDGE




                                                8
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                        EXHIBIT “B”




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                        EXHIBIT “C”




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                        EXHIBIT “D”




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 1                          STATE OF MICHIGAN

 2             IN THE CIRCUIT COURT FOR THE COUNTY OF WAYNE

 3
         DAILEY LAW FIRM, P.C.
 4
                        Plaintiff,                Case No. 21-007081-CZ
 5       vs.

 6       JODY INGRAM, et. al,

 7                  Defendants.
         ---------------------------/
 8

 9                      Zoom proceedings taken in the

10       above-entitled matter before HONORABLE ADEL HARB,

11       Third Judicial Circuit Court Judge, Detroit, Michigan,

12       on June 16, 2023.

13
         APPEARANCES:
14

15       FOR PLAINTIFF:              MR. BRIAN DAILEY
                                     63 Kercheval Ave, Ste 215




                                                                                     RECEIVED by MCOA 7/11/2023 1:11:58 PM
16                                   Grosse Pointe Farms, MI 48236

17       FOR MI Spine:               MR. JONATHAN GREEN
                                     30300 Northwestern Hwy #250
18                                   Farmington Hills, MI 48334

19       FOR JODY INGRAM:            MR. ROBERT DRAZIN
                                     23855 Northwestern Hwy
20                                   Southfield, MI 48075

21       FOR PEPPLER:                MS. ELIZABETH DOWNEY
                                     30445 Northwestern Hwy, #250
22                                   Farmington Hills, MI 48334

23       FOR M1 IMAGING:             MS. JAILAH EMERSON
                                     480 Pierce St., Ste 300
24                                   Birmingham, MI 48009

25




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 1       APPEARANCES CONTINUED:

 2
         FOR MI NEURO
 3        OPHTHALMOLOGY:             MR. JOSH HAVENS
                                     15200 E. Jefferson Ave #104
 4
         FOR BCBS:                   MR. DYLAN STEC
 5                                   600 E. Lafayette Blvd. #1925
                                     Detroit, MI 48226
 6
         FOR MRI LIVONIA:            MR. PHILIP JAFFE
 7                                   P.O. Box 25092
                                     W. Bloomfield, MI 48325
 8
         FOR KRANS REHAB:            MR. TIMOTHY SULOLLI
 9                                   17000 W. 10 Mile Rd. 2nd Fl
                                     Southfield, MI 48075
10
         FOR CRNA STAFFING:          MR. IAN COOTE
11                                   17 S. Saginaw St., Flr 2
                                     Pontiac, MI 48342
12

13

14

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17

18

19       Shelee Beard
         Official Court Reporter
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 1               T A B L E       OF      C O N T E N T S

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 1                                                 Detroit, Michigan

 2                                                 June 16, 2023

 3                                       - - -

 4                             THE CLERK:        Calling 21-007081-CZ

 5                             THE COURT:        Good morning.

 6                             MR. DAILEY:        Brian Dailey on behalf

 7              of Plaintiff, Dailey Law Firm.

 8                             MR. HAVENS:        Josh Havens on behalf of

 9              Defendant, Michigan Neuro Ophthalmology.

10                             MR. DRAZIN:        Bob Drazin on behalf of

11              Defendant, Jody Ingram.

12                             MS. EMERSON:        Jailah Emerson on

13              behalf of Defendant, M-1 Imaging.

14                             MR. COOTE:        Ian Coote here for

15              Defendant, CRNA Staffing.




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16                             MR. SULOLLI:        Tim Sulolli appearing

17              on behalf of Krans Rehab.

18                             MR. GREEN:        Jonathan Green on behalf

19              of Michigan Spine and Pain.

20                             MR. JAFFE:        Philip Jaffe on behalf of

21              Open MRI of Livonia.

22                             MR. STEC:         Dylan Stec for Blue Cross.

23                             MS. DOWNEY:        Elizabeth Downey on

24              behalf of Craig Peppler, D.O. and Pain Associates

25              of Michigan.




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 1                             THE COURT:       Is that everyone?

 2                             MS. DOWNEY:       I believe so, your

 3              Honor.

 4                             THE COURT:       All right.     Today is the

 5              time and date scheduled for a show cause.

 6                             Counsel.

 7                             MR. DAILEY:       Your Honor, I'm not

 8              aware of a show cause order being entered.                This

 9              is a motion for an order to show cause.               So I

10              don't think the Court, unless I missed it, I

11              apologize, but I'm not aware of any order being

12              entered yet requiring me to show cause.               This is

13              a motion asking the Court to require me to show

14              cause.     If the Court enters that order to show

15              cause that would implicate issues of civil




                                                                                     RECEIVED by MCOA 7/11/2023 1:11:58 PM
16              contempt for which this Court has the authority

17              to impose fine of $7,500 or incarceration for up

18              to 93 days depending upon whether or not the

19              Court finds that the failure to follow the order

20              is subject to the show cause for the willful

21              failure.

22                             I'm telling the Court -- I'm asking

23              this Court to adjourn this hearing so I can have

24              counsel.     I don't have counsel.         I attempted to

25              get intervention from the court of appeals; they




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 1              have denied that intervention because there is no

 2              harm as yet.      I intend to go back to the court of

 3              appeals depending on what this Court does.

 4                             Given the fact that this Court has

 5              the power to deprive me of liberty and property,

 6              I am demanding that I be allowed to have counsel.

 7              I don't have counsel.          I've not been able to find

 8              counsel.     I would ask the Court to adjourn this

 9              for a period sufficient to allow me to do that.

10              That's the first thing.          The second thing is I'm

11              still under a doctor's order not to participate

12              in hearings.      That is an order that goes through

13              August of 2023 due to a virus that I had, a lung

14              infection in April.         I do want to indicate to the

15              Court that as I mentioned earlier in the earlier




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16              hearing, I'm unable to adhere to the Court's

17              order because I don't have the money to do so.

18              It's not a willful violation, Judge.                 It's a

19              violation, if at all, based upon an inability to

20              provide the funds.         And that's because the fees

21              on this case were earned in 2018 and distributed

22              with Ms. Ingram's permission, knowledge and

23              notice which then reduced the fund to somewhere

24              in the neighborhood of $370,000.             And then there

25              were payments made to medical providers that had




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 1              valid liens for services rendered, transportation

 2              company, which then reduced it to probably in the

 3              neighborhood of $300,000.           Then there was further

 4              reduction in 2020 after I had been successful in

 5              a litigation for Ms. Ingram to restore her

 6              long-term disability benefits.            I met with them

 7              and provided to them an accounting to explain how

 8              to work, were the fees were, all the fees

 9              distributed to Dailey law firm were supported by

10              a valid contingent fee agreement signed by the

11              client and called for contingencies that were

12              paid.    That then further reduced the fund to

13              $155,000 approximately.          That all took place more

14              than two years ago.         In the case of the no-fault

15              fee, it was close to four years, actually five




                                                                                     RECEIVED by MCOA 7/11/2023 1:11:58 PM
16              years ago.

17                             So there is no willful violation of

18              the order here, Judge.          This order is an order

19              that is impossible for me to adhere to because

20              the funds had been distributed prior to today

21              with permission of Ms. Ingram.            And I note Ms.

22              Ingram is not here on Zoom call and would be an

23              important witness for the Court to make a

24              determination as to whether or not there were a

25              prior (inaudible) and approved distributions.




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 1                             I'd ask the Court to adjourn this so

 2              I can obtain counsel.          I have a right to counsel

 3              under sixth amendment because this Court has the

 4              ability to deprive me of my property and also

 5              liberty depending on what the Court finds.                I'm

 6              reminding the Court that I have an illness that

 7              prevents me -- I've been ordered not to

 8              participate in hearings like this; I shouldn't

 9              be.

10                             THE COURT:       Wait.    What hearings are

11              you allowed to participate in if you're not

12              allowed to participate in hearings like this?

13              Which ones are you allowed by your doctor to

14              participate in?

15                             MR. DAILEY:       My doctor told me to




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16              stay out of hearings and stay out of trials.                 So

17              I've done my best.

18                             THE COURT:       Those are your doctor's

19              orders to stay out of trial, but not to stay out

20              of your office?

21                             MR. DAILEY:       Because of the nature of

22              the illness, Judge, affecting my vocal cords, the

23              doctor is treating me for my vocal cords and

24              damage to my vocal cords as a result of it.                He

25              told me to stay out of hearings where I have to




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 1              speak at length and to stay out of trials.                I

 2              have a trial in Chicago I got to go and adjourn

 3              next week.

 4                             I'm not required to stay out of my

 5              office; I can still work.           I've been called on to

 6              participate in hearings and trial.             Not every

 7              Judge has afforded me the ability to avoid

 8              hearings.     Some Judges have made me go forward no

 9              matter what.      I have a duty to my client so I

10              have to do that even though it's deleterious to

11              my health and my welfare.           There's nothing I

12              could do.

13                             I do tell every Judge ahead of time

14              about my condition.         I can show the Court the

15              doctor's orders if the Court would like.               I'd




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16              hate to do that in front of these attorneys.                  If

17              the Court would join me in a break out room to

18              show you, I'd be happy to do that.             I've asked

19              the doctor to sign an affidavit.             I think he has.

20              I haven't picked it up yet.           He's at Henry Ford

21              Hospital.     That's one issue.

22                             The other issue is because this

23              Court, depending upon the finding it makes, has

24              the ability and authority to deprive me of

25              liberty and property, I'm entitled to an attorney




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 1              to represent me, and I don't have one.               So I'm

 2              asking this Court to adjourn this to allow me to

 3              do so.

 4                             THE COURT:       All right.     Anybody want

 5              to respond?

 6                             MR. DRAZIN:       If I may, your Honor,

 7              there's a lot to respond to, but I'll be brief.

 8              I represent Jody Ingram and anything he said

 9              about Jody Ingram's agreement to what has

10              happened is not correct.          She never agreed to the

11              disbursement.       She was improperly advised.           So

12              any statements regarding Jody Ingram that Mr.

13              Dailey says is incorrect.

14                             Also, I originally filed my motion,

15              your Honor, in October of 2022.            It has




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16              continually been adjourned because of Mr.

17              Dailey's request for adjournment because of

18              illness and/or because he needs an attorney.

19              When we last heard this motion, it was on a

20              Monday, I believe, Mr. Dailey made a comment to

21              you that he was meeting that evening with an

22              attorney.     That was two months ago, a month ago,

23              whenever that was.         We are all accustomed to be

24              getting all these motions and hearing the same

25              from Mr. Dailey that he's ill and that he needs




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 1              to hire an attorney.         It's not that hard for an

 2              attorney to find an attorney.            So I ask you to

 3              ignore that and go ahead with the motions that

 4              are before you.

 5                             When we had the last motion, you were

 6              aware Jody Ingram had filed a bar grievance

 7              against Mr. Dailey.         You asked Mr. Dailey what is

 8              the status of that bar grievance.             His response

 9              was it has been two years; he hasn't heard

10              anything.     And the inference he was setting forth

11              was that, therefore it must not be accurate.                 If

12              you wish me to comment on that response, I'd be

13              glad to, your Honor.

14                             MR. DAILEY:       Your Honor, I can

15              comment on that.         That's true I did tell you that




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16              at the last hearing because that's what the state

17              of affairs was at that time.            After that, I

18              received a subpoena from the Attorney Grievance

19              Commission asking for information related to the

20              distributions from the $600,000 settlement and

21              that is something I'm working on right now; it's

22              not yet due.      I'll have it turned in to the

23              Attorney Grievance Commission by the time that

24              it's due.     That is a new development, but there

25              was a significant long period of time that I went




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 1              without hearing a single thing from the grievance

 2              commission about that.          I think just given a

 3              subpoena does not mean that it is going to any

 4              higher level.       They're just investigating.

 5                             By the way, Judge, Michigan Rules of

 6              Professional Conduct and the rules that govern

 7              the operation of the Attorney Grievance

 8              Commission requires that all of that remain

 9              confidential.       Mr. Drazin has violated that rule

10              twice by bringing to the Court's attention the

11              fact that Ms. Ingram filed that against me.                And

12              she did it, I might add, in connection with an

13              attorney who was representing her before we

14              decided not to represent her.

15                             THE COURT:       Didn't you kind of open




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16              the door because you said you had not heard

17              anything for two years; isn't that really

18              disclosing confidential information if you bring

19              that point up; didn't you just open that door

20              when you said that?

21                             MR. DAILEY:       Judge, I didn't raise

22              that issue in the last hearing.            That was raised

23              by Mr. Drazin in the last hearing, so I

24              responded.      I'm trying to be forthright and

25              forthcoming to this Court.           The Court has




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 1              significant duties and responsibilities here

 2              which I perceive the Court attempting to meet

 3              with great professionalism, and I appreciate

 4              that.    It's my duty to provide information to the

 5              extent I can.       It doesn't mean I have to agree

 6              and Mr. Drazin can continually berate me as he

 7              has in the hearings.

 8                             The last time he told me I stole her

 9              money.    That's not true.        I didn't steal

10              anything.     Everything I've done is according to

11              the Rules of Professional Conduct and the

12              Michigan Court Rules.          I have contingency

13              agreements that have been in place since 2016 and

14              '17 signed by the client with notice and sat down

15              with me in terms of the ARISA claim, which I




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16              think is the biggest issue in terms of most of

17              these lawyers here, there's an ethics opinion

18              that supports my fees that were paid to me; they

19              were paid to me and they all know that.

20                             THE COURT:       Mr. Dailey, we keep going

21              in circles here.         All I want you to do is put

22              back the money; that's what I ordered you to do.

23                             MR. DAILEY:       And I can't because I

24              don't have it.

25                             MR. SULOLLI:       Your Honor, there's




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 1              been no good-faith attempt for Mr. Dailey to pay

 2              anything.     He didn't even put the money in that

 3              he told you and told us he had, the $260,000.                 He

 4              simply chose to ignore your order.             There's no

 5              good-faith effort.         If Mr. Dailey at least had

 6              paid that amount, I would get some argument here

 7              in terms of what he's trying to same.                He didn't

 8              even do that at a minimum.

 9                             MR. DAILEY:       Your Honor, if I may,

10              when we were at the last hearing, I did ask the

11              Court to allow me to do that and the Court said

12              no.

13                             THE COURT:       It wasn't 255; what was

14              the amount you stated at that time?

15                             MR. DAILEY:       $155,000.




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16                             THE COURT:       That's a difference of

17              $100,000 from what you stated.            I want that clear

18              because when you did suggest that, I said that

19              was not good enough.

20                             MR. DAILEY:       Right.

21                             THE COURT:       It was not 255,000.

22                             MR. DAILEY:       Thank you Judge, for

23              pointing that out.         I appreciate that.

24                             THE COURT:       Somebody else want to --

25              go ahead counsel.




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 1                             MR. HAVENS:       Just not this Court

 2              originally ordered Mr. Dailey to interplead the

 3              funds back in February.          We're four months out.

 4              Every time we come it's the same story, same song

 5              and dance.      I'll just note again that $155,000

 6              your Honor did order him to interplead $600,000.

 7              He did indicate at all times he could interplead

 8              $155,000.     I don't think the Court told him you

 9              can't interplead $155,000.           I think we'd all

10              agree if there was any showing of good faith

11              whatsoever and this wasn't willful, he would at

12              least interplead what he does have.             He's saying

13              he can't comply with the Court's order.                You'd

14              think that for somebody who's under court order

15              they would comply to the extent that they can.




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16                             To Mr. Dailey's point, we're here

17              today asking the Court to order -- order Mr.

18              Dailey to come forth and show cause why he should

19              not be held in contempt.          For that kind of

20              hearing it's pretty straight forward.                The

21              Court's got an order he hasn't complied with.

22              It's a relative routine matter that the Court

23              would issue that order.          And if he needs time to

24              find an attorney to appear and argue why he

25              shouldn't be held in contempt, that's a different




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 1              matter than what we're here for today, which is

 2              asking the Court to issue an order for him to

 3              come to court at a later date and show cause.

 4                             MR. DAILEY:       Your Honor, I just want

 5              to point out that, and I want to remind all

 6              counsel that when I did the analysis of the

 7              attorneys fees or the payment of attorney fees on

 8              ARISA claims, my contingency fee agreement says

 9              that I can do one or two things.             I can take my

10              fees out of any lump sum that is provided, but if

11              there's no lump sum and I have a fund of money

12              over which I have a possessory lien, which she

13              gave me in my fee agreements, then I can take

14              one-third of the present value of the total

15              lifetime payments.




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16                             I hired an accountant to figure out

17              what was the one-third value and total -- the

18              present value of the total lifetime payments, and

19              I'm looking at taking one-third of that.               I

20              decided I didn't want to do that.             So I already

21              reduced my fees on the ARISA claims to one-third,

22              which she entitled me to, to just 20 percent,

23              Judge.

24                             It's not like I'm not trying to work

25              with these people.         And the other, Judge, because




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 1              I think it's really important, you take a look at

 2              all of the bills that's been submitted by all of

 3              these providers, they add up to not much more

 4              than $155,000.       That's at full amount, which no

 5              medical provider, no medical provider ever gets.

 6              They always have to reduce it in order to take

 7              into consideration the attorney fees that were

 8              paid in order to create that fund.             And if this

 9              goes according to the way it should go and the

10              way it normally goes, then every single one of

11              these providers that were reduced by one-third

12              would recognize attorney fees Ms. Ingram paid, we

13              would be done with this within that $155,000.

14                             In addition to that, Judge --

15                             THE COURT:       You can argue in mirror.




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16              I don't want to hear about that.             All I want to

17              hear about is I ordered the money be put back in

18              place.    You can make that argument at the

19              appropriate time, but you are in violation of my

20              order to put the money back.            You keep wanting to

21              go into what should have been paid off or paid

22              on, or whatever.         I don't want to hear that.

23                             MR. DAILEY:       I understand.

24                             THE COURT:       All I want to hear is

25              that I ordered you to put the money back.                You




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 1              have either refused, or whatever you want to

 2              describe it as; you don't have the money; the

 3              money is gone, whatever description you have.                    I

 4              ordered you to put the money back and you didn't.

 5              That's all I'm looking at today.

 6                             MR. DAILEY:        I want to be clear.

 7              I've not refused, absolutely not.              I would not

 8              refuse to follow the Court's order.              I can't

 9              follow the order; it's an impossible order for me

10              to follow.      I don't have the resources to do so.

11              I'm not refusing to follow your order, Judge.                    In

12              fact, I've never refused an order of you.                 I've

13              shown up at every hearing.            I've produced what

14              you told me to produce that was in my power to

15              produce.     I've done everything I'm supposed to




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16              do.

17                             THE COURT:        Except pay the money,

18              which is what I want you to do.             You've done

19              everything but pay the money back.              You keep

20              telling me you're doing everything that I ordered

21              you to do.      All I want you to do is one thing;

22              put money back.          I don't care about everything

23              else.    That doesn't matter right now.               We'll deal

24              with that issue at the appropriate time.                 You

25              didn't even put an extra dollar from the amount




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 1              you say you owe.

 2                             MR. DAILEY:       I don't understand, your

 3              Honor.

 4                             THE COURT:       Not even a dollar more,

 5              right?

 6                             MR. DAILEY:       I don't understand what

 7              you're saying.

 8                             THE COURT:       What number are you

 9              saying you still have in the bank?

10                             MR. DAILEY:       155,000.

11                             THE COURT:       Did you come to this

12              Court and say, well, I don't have the 600; I have

13              another 100,000 or 200,000 to put back?

14                             MR. DAILEY:       I don't have another

15              100,000 to put back.




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16                             THE COURT:       Okay.

17                             MR. DAILEY:       The thing is, it is not

18              sufficient for you to find a violation to order

19              me to show cause.        You have to find a willful

20              violation.      There's no evidence here in relation

21              to that accept my evidence and my testimony I

22              don't have the money.          There's nobody that

23              testified or can testify that there's a willful

24              violation of your order.          I'm testifying --

25                             THE COURT:       That's your opinion, Mr.




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 1              Dailey.

 2                             MR. DAILEY:       I understand.

 3                             THE COURT:       We'll see.

 4                             MR. DAILEY:       I'd like to have an

 5              evidentiary hearing, Judge, on that issue.

 6                             THE COURT:       Who else?

 7                             MR. HAVENS:       I would just note I

 8              don't now if we're here today to argue what

 9              willful and what's not.

10                             THE COURT:       We're not, so I don't

11              want to go into that.

12                             MR. HAVENS:       I think there would be a

13              willful violation to an extent, which would be to

14              the extent he's capable of paying back, which he

15              willfully hasn't?




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16                             MR. DAILEY:       I disagree with that,

17              Judge, and I object to those comments in view of

18              the fact that you yourself just remarked that I

19              offered to do that and was told that wasn't good

20              enough by this Court.          So for Mr. Haven to

21              continue arguing that point I think is

22              disingenuous and improper.

23                             THE COURT:       Go ahead, Mr. Green.

24                             MR. GREEN:       I think at this point we

25              know that the order hasn't been complied with




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 1              maybe the remedy at this point would be to

 2              appoint a receiver in the interim to gain

 3              compliance with the Court's order separate and

 4              apart from any issues about contempt.                I

 5              understand Mr. Nathanson is here.             He has another

 6              matter apparently before the Court, but he is

 7              experienced as a receiver.           He might be somebody

 8              the Court would consider at this point.                    Really I

 9              have nothing further to add other than that.

10                             MR. DAILEY:       Your Honor, may I

11              respond.

12                             THE COURT:       Go ahead.

13                             MR. DAILEY:       I think you need make to

14              a decision as to whether or not there was a

15              willful violation before you take any remedial




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16              action.     I need an evidentiary hearing and

17              counsel on that issue; that's the second thing.

18              The third thing is Mr. Nathanson is here because

19              he's watching this hearing because he and I are

20              involved litigation right now where we have

21              motions up in front of Judge Gibson.                 Mr.

22              Nathanson has filed a request for investigation

23              against me as a result of that litigation.                    He

24              clearly is a biased individual.             He's not

25              qualified to serve in capacity of receiver.




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 1              There's no basis upon which to appoint a receiver

 2              because this Court has not made a decision as to

 3              whether or not there's a willful violation.                As I

 4              understand it, the Court is going to hold another

 5              hearing to determine if there's a willful

 6              violation at which I want to be represented by

 7              counsel.

 8                             THE COURT:       You keep saying you want

 9              to be represented by counsel.             What's stopping

10              you from doing that?         Isn't that something you

11              said you were working on doing last time?

12                             MR. DAILEY:       I did.    I've spoken with

13              a number of attorneys, and I have been unable to

14              find one who feels qualified to handle this case.

15              And I'm still looking.          I'm doing the best I can.




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16              The attorney I told you I was meeting with after

17              the last hearing, I did.          They were not willing

18              to represent me on it.          So I'm doing the best I

19              can.

20                             THE COURT:       Let me ask you this; how

21              many attorneys have you talked to since the last

22              hearing?

23                             MR. DAILEY:       Five.

24                             THE COURT:       From the five you were

25              unable to retain any of them.




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 1                             MR. DAILEY:       That's correct.        It's

 2              not because I can't retain them, it's because

 3              they were not willing to be retained.                There's

 4              not a lot of people, far as I can tell, with

 5              experience and comfort in civil contempt

 6              proceedings.      I can give you in camera the names

 7              of the attorneys I contacted, Judge.

 8                             THE COURT:       I'm okay not knowing

 9              right now.

10                             Anybody else?       Ms. Downey.

11                             MS. DOWNEY:       If the Court is

12              intending to hold a hearing at a later date to

13              determine whether or not the noncompliance was

14              willful or not willful, I'd request that we have

15              an opportunity to have forensic accountants




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16              investigate what assets and liability the firm

17              and Mr. Dailey actually has so we're in position

18              to argue from a basis of fact as to whether there

19              was or was not an ability to comply.                 That's all

20              I have.

21                             MR. DAILEY:       Your Honor, that sounds

22              like a collection action.           There's never ever a

23              basis upon which to institute collection

24              procedures before there's a finding or before

25              there's a judgment.         I would object to that.




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 1                             MR. DRAZIN:        Your Honor, if I may,

 2              Mr. Dailey is telling the Court repeatedly he

 3              doesn't have the funds to obey your order.                 The

 4              only way to make that determination would be

 5              appoint00 a receiver.           My understanding is Ms.

 6              Downey talked to Plante Moran who has people well

 7              experienced in this area and glad to serve.                    I've

 8              spoken with another attorney same kind of

 9              experience and would be glad to serve.                I would

10              ask the Court if you order a receiver to comment

11              on the truthfulness of Mr. Dailey that he has no

12              money, that that be done at the sole expense of

13              Mr. Dailey.

14                             MR. DAILEY:        Your Honor, I can show

15              the Court and I can show counsel proof of the




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16              distributions that have been made and to whom

17              they've been made from the funds of money that

18              was received in the settlement.             Mr. Sulolli's

19              partner received approximately $50,000 of the

20              funds with permission from Ms. Ingram early on

21              because Mr. Goodman had a valid lien for Life

22              Skills Village.          He presented it early on.         I

23              talked to my client about it.             My client approved

24              it.

25                             My point is you don't need a forensic




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 1              accountant for me to show where the money went.

 2              The money I have in my trust account belongs to

 3              other clients in addition to Ms. Ingram or these

 4              providers to the extent of $155,000.                 So I can

 5              within seven days put together the accounting

 6              showing what the distributions were and with the

 7              back up showing checks and wire transfers to the

 8              extent they exist.         In the nature of a collection

 9              action there's been no judgment made here.                 I'm

10              asking the Court to not appoint that.

11                             A receiver would have far greater

12              powers than necessary here.           There's just an

13              accounting that's due.          I did an accounting.

14              Nobody ever asked me for further detail.                 I'm

15              happy to provide it.         I'm more than happy to show




                                                                                      RECEIVED by MCOA 7/11/2023 1:11:58 PM
16              where the funds had gone.

17                             THE COURT:       Mr. Green.

18                             MR. GREEN:       Thank you, your Honor.

19              The more I'm hearing, the more I'm thinking a

20              receiver is a good idea.          He's an arm of the

21              Court.    He can enforce compliance with this

22              Court's order or be that third party to tell the

23              Court what can and cannot come from the estate.

24              I think for our purposes it's probably the best

25              way to go.      Again, we're not relying on argument




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 1              of counsel.      He's an arm of the Court, whether

 2              it's Mr. Nathanson or someone else.             I've got a

 3              couple other names I can thing of.

 4                             THE COURT:       If I consider it, I

 5              certainly want somebody who's not connected to

 6              this case or any of the parties involved.

 7                             MR. GREEN:       One name that comes to

 8              mind is John Polderman.          I think that's probably

 9              the best way to approach this issue.                 I know he

10              does quite a few of these things.

11                             MR. DAILEY:       Your Honor, wouldn't it

12              be better to start out with an accounting that

13              has details showing copies of checks and

14              distributions and wire transfers and transfers?

15              I can show --




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16                             THE COURT:       I'm thinking it may be a

17              good start and spot for a receiver.             It may be a

18              good spot for a receiver to look at.

19                             MR. DAILEY:       Your Honor, what I'm

20              suggesting is the Court allow me to put that

21              together and submit it to all counsel.                 Then if

22              they have a problem with what I submitted, I'm

23              sure they won't because they'll be all documents

24              from the bank unquestionable and show to the

25              penny what's left and what's been distributed on




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 1              Jody Ingram's behalf.          I think it's better to

 2              start with that because I don't think we would

 3              need to have a receiver.

 4                             If the Court wants a receiver after I

 5              submit that, then that's something the Court

 6              should consider.         But right now nobody ever asked

 7              me for that detail.

 8                             THE COURT:       I think we're a little

 9              beyond that right now.          I don't speak on behalf

10              of anybody.      I'm saying as far as I'm concerned,

11              I think we're a little beyond that.

12                             Who else wants to jump in and say

13              anything?

14                             MR. HAVENS:       I concur with the

15              request for a receiver.          I understand what Mr.




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16              Dailey is suggesting but it's not as if all

17              counsels are here alleging this $600,000 is still

18              sitting in his IOLTA Trust Account.             We have no

19              doubt that he made himself to the tune of

20              $450,000.     I don't think that's really in

21              dispute.     It's a question about whether he

22              complied with this Court's order.             I think an

23              accounting by a neutral third party is the best

24              way to get us, as Ms. Downey said, on a factual

25              footing in that regard.




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 1                             MR. DAILEY:       My response just is all

 2              I'm telling you is based upon the last comment

 3              that I heard, They've already assuming you made a

 4              finding of willful violation of your order.

 5              They're already going to collection procedures

 6              which is inappropriate, unsupportable in the law.

 7                             MR. DRAZIN:       Your Honor, if I may.

 8                             THE COURT:       Go ahead.

 9                             MR. DRAZIN:       The request for the

10              appointment of a receiver isn't solely directed

11              toward any disbursement Mr. Dailey made.               It's

12              based upon whether Dailey's statement he can't

13              afford to put the money in the account is correct

14              or not.     And that means the receiver has to go

15              beyond just the money Mr. Dailey computed Ms.




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16              Ingram was entitled to.          Well, I'll be quiet.

17                             MR. DAILEY:       Again, Judge, they're

18              arguing now as if you've already found I

19              willfully violated your order.            You haven't found

20              that as far as I know.          That's collections

21              procedures, which are never ever appropriate

22              until there's a finding of something to collect,

23              until there's a judgment or an order finding

24              there's a debt.

25                             I understand that you ordered me to




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 1              pay back $600,000.         I've told you a million times

 2              that I would adhere to your order if I could, but

 3              I've already distributed funds from that fund.

 4              So what I have is $155,000.           I've offered last

 5              time to pay that as the court order; the Court

 6              didn't think that was good enough.             I've done

 7              everything I can do.         And to put a receiver on to

 8              do a creditor exam, which is what they're asking

 9              for, is inappropriate and it's unsupported.

10                             I would ask that the Court schedule

11              an evidentiary hearing, make a determination

12              after that evidentiary hearings as to whether it

13              was a willful violation and fashion what ever

14              remedy the Court think is appropriate.

15                             THE COURT:       It not about collection.




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16              It's about you telling the Court you don't have

17              the money to pay to put back into the account; is

18              it not?

19                             MR. DAILEY:       That is collections.

20                             THE COURT:       How's that collections?

21                             MR DAILEY:       Because what you're doing

22              here is taking money -- what you're attempting to

23              order me to take money that's already been paid

24              to me and put it back in the court four years

25              later; that is collection.           In other words, it's




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 1              tacit to a finding that my fees were not

 2              appropriate.      There's been no finding to support

 3              that.    It is collections.         Those funds have

 4              already been paid to me by permission of my

 5              client pursuant to the contingency agreement

 6              supported by Michigan Court Rules, the ethics

 7              opinion.     That's what you're doing.          That's why

 8              I'm asking the Court to hold an evidentiary

 9              hearing before you fashion any remedial relief.

10                             THE COURT:       Somebody else wanted to

11              say something?

12                             MR. SULOLLI:       Mr. Dailey is entitled

13              to make a claim.         What he's entitled (inaudible)

14              the money put in the fund.           That's why you

15              ordered $600,000 to be put in.            It doesn't




                                                                                     RECEIVED by MCOA 7/11/2023 1:11:58 PM
16              distinguish Mr. Dailey's ability to argue he's

17              entitled to X amount of dollars and that's the

18              evidentiary hearing.         For Mr. Dailey to suggest

19              let's have an evidentiary hearing and let me give

20              you an accounting, how do we know if that

21              accounting is correct if we don't have an

22              independent party to look at his financial and

23              determine whether, in fact, he's accurate in

24              terms of his inability to pay and whether or not

25              that was willful or not.          How do we not establish




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 1              that if we don't have an independent party come

 2              in and look at his financials?

 3                             MR. DAILEY:       The way they will know

 4              is by looking at what I provided in terms of back

 5              up and the detail showing where the $600,000

 6              went.    His partner --

 7                             THE COURT:       What you want me to do is

 8              go through this process only to come back in four

 9              to six months and be where we're at today.

10                             MR. DAILEY:       No, Judge, I don't.        I

11              want you to hold an evidentiary hearing on all

12              issues here before making any remedial decisions.

13              And do it as quickly as you can.             Do it in two

14              weeks; do it in a week.          Give me the time I need

15              in order to present these issues to the Court.




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16              I'm sure the Court will be satisfied that I've

17              been honest, forthright and professional, that

18              I'm entitled to the fees that I took, I was paid.

19              That's what I'm asking for.           I'm asking you to

20              put the cart behind the horse not the other way

21              around.     What they want to do is have you start

22              collection procedures and creditor hearings

23              before you even determine if that's a necessary

24              issue.

25                             The $50,000 that was paid to Barry




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 1              Goodman, Mr. Sulolli's partner, would have to

 2              come back into the court, too.            Why would I have

 3              to make up $50,000 that somebody else got with

 4              permission from my client in 2018?

 5                             THE COURT:       Mr. Havens, you wanted to

 6              say something?

 7                             MR. HAVENS:       Yes.    To the extent it's

 8              on the table about whether or not the Court has

 9              power to order a receiver, I think the law is

10              clear, I've done research while sitting here.                   I

11              turn the Court's attention to MCL 600.2926 which

12              circuit court judges in the exercise of their

13              equitable powers may appoint receivers when cases

14              allow by law.       I don't think there's any law in

15              this circumstance that disallows it.                 Again, I




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16              think Mr. Dailey is --          I think it's him putting

17              the cart before the horse that is our argument

18              this is some kind of situation where willfulness

19              is presumed.      We don't even get there until we

20              have an accurate factual footing.             That what a

21              receiver would do.

22                             MR. DAILEY:       Your Honor, the receiver

23              would do far more than that.            Unless the Court is

24              going --

25                             MR. HAVENS:       The same statute I




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 1              quoted says the Court has the inherent power to

 2              define and limit the duties of the receiver, so

 3              to the extent Mr. Dailey believes there's a risk

 4              that a receiver would go too far, this Court can

 5              express concerns.        And this Court can

 6              specifically define the role and duties and

 7              limitations of the receiver in this situation if

 8              one were to be appointed.

 9                             MR. DAILEY:       Your Honor, if the

10              defendant counsel wants to put together a name or

11              two names of accountants they would propose as

12              witnesses, I can provide those accountants the

13              documentation they would need in order to

14              determine what it is they're looking for in terms

15              of the distribution and the diminution of this




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16              fund.    What they keep asking for is tantamount to

17              a creditor's exam.         With all due respect --

18                             THE COURT:       I don't get that.       I

19              don't know why you keep going to this creditor

20              exam and collection when a receiver is mentioned.

21              I don't know why you keep wanting to --

22                             MR. DAILEY:       Here's why, Judge.         The

23              reason why is because the funds that they want me

24              to pay back that you ordered me to pay back, the

25              fund that have already been distributed by




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 1              permission of Jody Ingram.           $50,000 of it was

 2              distributed to Tim Sulolli's partner, Barry

 3              Goodman, because he presented a valid lien.

 4                             Now what you're telling me to do is

 5              go to Barry Goodman and tell Barry Goodman to cut

 6              a check for $50,000 back into the Court.               I

 7              brought this to the Court's attention last time,

 8              and the Court said, no, I'm not going to make him

 9              do that.     You pay it.       So it's already been taken

10              out of the $600,000.         This is a taking from Brian

11              Dailey without adequate support legally to do so;

12              that's what this is.         I am quite positive if they

13              want to hire an independent accountant to look at

14              the documentation I'm proposing to provide to

15              them, they'll be more than satisfied that the




                                                                                     RECEIVED by MCOA 7/11/2023 1:11:58 PM
16              funds have been distributed pursuant to

17              permission from Ms. Ingram.

18                             There's no need to appoint a

19              receiver.     I'm not suggest the Court doesn't have

20              the authority to do that, but there has to be a

21              need for it, and there is no need for it.

22                             THE COURT:       If you don't think

23              there's a need for it after all these hearings

24              and all these claims, I must be missing

25              something.




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 1                             MR. DAILEY:       Not to say you're

 2              missing anything, Judge.

 3                             THE COURT:       I must be because if any

 4              case -- I'll be honest with you.             I thought about

 5              a receiver even before it was mentioned because

 6              if any case probably needs a receiver it's this

 7              case.

 8                             MR. DAILEY:       I respectfully disagree,

 9              Judge.     I think it's a fairly simple case to show

10              what happened to the $600,000.

11                             THE COURT:       You keep saying that but

12              obviously that hasn't been the case.

13                             Mr. Havens, go ahead.

14                             MR. HAVENS:       I think Mr. Dailey

15              already made the distinction and we already know,




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16              let me prove to you that I paid myself $450,000.

17              We know we paid himself $450,000.             The question

18              then is where is that money.            He said he doesn't

19              have it.     He can't pay it back.         Where is it?       To

20              the extent he can't pay it back I think we all

21              deserve that factual footing to know exactly what

22              he can pay back.

23                             THE COURT:       I'll give you the last

24              word, Mr. Dailey.

25                             MR. DAILEY:       I tell you exactly where




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 1              it went.     It went to rent.        It went to health

 2              insurance.      It went to malpractice insurance.

 3              It's funds that were put into an office that I

 4              earned legitimately pursuant to contingency

 5              agreements approved and signed by my client,

 6              received for the work called for in those

 7              agreements.      That's where it went.         Everything

 8              else is taking money out of my pocket.               That is

 9              not appropriate.         This is not a collection

10              action.     That's it, Judge.        I made my argument.

11                             I just really want to make one last

12              argument.     I'm entitled to counsel in a hearing

13              involving contempt.         I'm asking the Court to

14              allow me to do that, to have counsel.

15                             THE COURT:       Anybody that has not said




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16              anything wants to say anything before --

17                             I know somebody mentioned the name of

18              Holderman (sic).         Did somebody say Holderman?

19                             MR. DRAZIN:       It's Polderman; P as in

20              Paul.

21                             THE COURT:       Okay.    Polderman.     I'm

22              going to appoint -- is John the first name?

23                             MR. HAVENS:       Correct.

24                             THE COURT:       I'm going to appoint him

25              as a receiver.       I think this case needs a




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 1              receiver.     We keep going in circles as far as

 2              what the arguments are.          And we'll come back.

 3              I'm going to go ahead and sign the Order to Show

 4              Cause today.      We'll come back in 30 days or so

 5              hopefully with the receiver in attendance to see

 6              what is going on.

 7                             MR. DAILEY:       Can I ask what you're

 8              allowing the receiver to do.            Is it just related

 9              to the $600,000; are you allowing him to see my

10              personal assets and finances?            I think you need

11              to define that.

12                             THE COURT:       Let's start with him just

13              seeing regarding the $600,000.            I'm not going to

14              give him a blank check just yet.             We'll deal with

15              as far as the $600,000 is concerned.




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16                             MR. DRAZIN:       Your Honor --

17                             MR. DAILEY:       I'm not finished, Mr.

18              Drazin.

19                             Thank you very much, Judge, for that.

20              We'll submit an order.          My other question is, in

21              the last hearing we submitted an order and the

22              Court rejected it telling us to follow the court

23              rules.    We need that order entered.           It was an

24              order denying motion for summary disposition

25              limiting Blue Cross Blue Shield's claim.               I'd




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 1              like to know how do you want me to submit that

 2              order.

 3                             THE COURT:       That was granted last

 4              time, was it not?        I think Mr. Dailey isn't that

 5              something we addressed last time?

 6                             MR. DAILEY:       You did grant it, but

 7              didn't enter an order.          We need an order.        Your

 8              court indicated that they were not going to enter

 9              the order I submitted.          I was just wondering how

10              to get it entered.

11                             THE COURT:       Hold on.    Eric or Debra.

12                             THE LAW CLERK:        We can do July 28th

13              at 9:30.

14                             THE COURT:       No, not the date.       I need

15              to find out what happened.




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16                             THE CLERK:       On the order I would have

17              to do an investigation.

18                             THE COURT:       We'll look into that

19              today, Mr. Dailey.

20                             MR. DAILEY:       Who should I call back

21              to find out about that order?

22                             THE COURT:       We'll be in touch.        Did

23              you get a copy of that order, Mr. Stec?

24                             MR. STEC:      Yes, sir.     It was limited

25              to (inaudible) I agree to that.




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 1                             MR. DAILEY:       The order that I

 2              submitted, Judge, was more than just that.                I was

 3              a whole bunch of things that this Court ordered.

 4              I can re-submit it if you want.

 5                             THE COURT:       Well, make sure Mr. Stec

 6              gets a copy of it first.

 7                             MR. DAILEY:       I'll make sure everybody

 8              does.    I'll submit it through the MiFile.

 9                             THE COURT:       I'll take a look at it.

10                             MR. DRAZIN:       Your Honor, if I may, is

11              Mr. Polderman being appointed at attorney

12              Dailey's expense?

13                             MR. DAILEY:       I object to that, Judge.

14                             THE COURT:       It is at your expense,

15              Mr. Dailey.




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16                             MR. DAILEY:       It's at my expense?

17                             THE COURT:       Yes.

18                             MR. DAILEY:       May I ask the Court the

19              basis upon which I'm required to pay for their

20              expert?

21                             THE COURT:       Go ahead, Mr. Green.

22                             MR. GREEN:       The receiver is an arm of

23              the Court.      He's not anybody's expert.           He does

24              not represent the interest of the parties.                He is

25              there as an arm of the Court.            For that purpose,




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 1              as I understand and correct me, your Honor, if

 2              I'm wrong, he's there to enforce the Court's

 3              order, to get the Court's order complied with

 4              that $600,000 is to be placed into escrow.

 5                             MR. DAILEY:       Your Honor, there's no

 6              basis upon which to support me having to pay the

 7              cost.

 8                             THE COURT:       The basis that I have is

 9              simply I want him to basically help me enforce

10              the order that I signed already.             I'm ordering

11              that you pay for the receiver.

12                             MR. DAILEY:       Your Honor, I'm

13              objecting.      I'm asking the Court to --.

14                             THE COURT:       You can objection all you

15              want, Mr. Dailey.        I'm telling you it's at your




                                                                                       RECEIVED by MCOA 7/11/2023 1:11:58 PM
16              expense.

17                             MR. DAILEY:       I understand.

18                             THE COURT:       Anything else?

19                             Eric, give me a date; what's the day

20              that we have?

21                             THE CLERK:       July 28th at 9:30.

22                             MR. DAILEY:       Your Honor, my

23              disability goes through August 12th.                 Can we put

24              it after?

25                             THE COURT:       Your disability as to




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 1              what?    This is the doctor who told you cannot be

 2              at hearings or trials?

 3                             MR. DAILEY:        He told me to avoid

 4              hearings and trials.          To the extent that I can't

 5              adhere to his order, I'd like to.              After today's

 6              hearing, my voice is going to be shot.                 Every

 7              time I do something like this, it delays me

 8              getting better.          So I'm asking this Court to put

 9              it at the end of August so I can get through

10              that.

11                             MR. SULOLLI:        Your Honor, this is the

12              same attorney who argued a few minutes ago we can

13              have an evidentiary hearing in two weeks.

14                             MR. DAILEY:        Your Honor, I'm planning

15              on bringing counsel with me.




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16                             THE COURT:        You can bring one July

17              28th.

18                             MR. DAILEY:        I'm asking the Court for

19              accommodation for my health condition.

20                             THE COURT:        Mr. Dailey, I can

21              appreciate your health concerns, but the 28th

22              will give you enough time I think.              This is six

23              weeks away from today.

24                             MR. DAILEY:        Okay, Judge.        I'm just

25              trying to do what my doctor told me.




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 1                             THE COURT:       I understand and

 2              appreciate what you're saying.            We'll see you on

 3              the 28th at --

 4                               -- what time do we have, Eric?

 5                             THE CLERK:       9:30.

 6                             MR. DAILEY:       Will this be by Zoom,

 7              Judge?

 8                             THE COURT:       We'll keep you posted.         I

 9              think I might have everybody come in for that.

10              We're starting to get people back in person.

11              We'll keep you posted.          If it's going to be in

12              person, we'll let you guys know.

13                             MS. EMERSON:       Your Honor, I also have

14              a motion before the Court today.             It's our motion

15              to assert a claim against Dailey Law as well as a




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16              third-party complaint against Brian Dailey.

17                             MR. DAILEY:       We would resist that,

18              your Honor.      Long time passed to bring a

19              counterclaim.       It would be a statute of

20              limitation issue.        I object to any amendment to

21              bring in counterclaims.

22                             MS. EMERSON:       Your Honor, there is no

23              statute of limitations issues pursuant to MCR

24              2.118(A)(2), leave to amend shall be freely

25              granted as justice requires.            Alternatively, we




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 1              should be allowed to amend our answer to assert a

 2              counterclaim and third party complaint to conform

 3              to the pleadings in this case based upon the

 4              information that has arisen with respect to Mr.

 5              Dailey's failure to interplead funds as required

 6              by this Court.       As a reminder, Mr. Dailey filed

 7              this case in 2021 asking this Court to determine

 8              how funds should be distributed to providers.

 9              Thereafter, he refused to interplead any money.

10                             He has admitted he has over $150,000

11              that are a part of the settlement proceeds that

12              he has not even interplead into this court

13              despite the fact he filed this lawsuit requesting

14              that amounts be distributed.            There's no

15              prejudice.      This information has recently come




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16              about at the last hearing.           At that last hearing

17              status conference, the Court ordered several

18              parties, including my client M-1 Imaging to amend

19              our answers to attach liens showing that we did,

20              in fact, have proper claim in this case.

21                             Based upon the recent court order of

22              amendment we believe there's no prejudice.

23              There's no bad faith as we found this information

24              out recently and continues to develop.               It's

25              clear based upon this case being pending for two




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 1              years and Mr. Dailey failed to interplead any

 2              funds, it's our assumption he will not do so.

 3              For that reason we'd like to assert a

 4              counterclaim against Dailey Law Firm and third

 5              party complaint against Brian Dailey.

 6                             We've attached a copy of our amended

 7              answer which includes the counter complaint and

 8              third-party complaint to our motion; it's Exhibit

 9              B.   We request that the Court enter that Exhibit

10              B attached to our motion and otherwise we rest

11              and rely on our motion as filed with this court.

12              Thank you.

13                             MR. DAILEY:       Your Honor, I

14              respectfully object and ask the Court to deny

15              that relief.




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16                             THE COURT:       Based on what?

17                             MR. DAILEY:       It's not timely.       This

18              has been in place since 2021.            There's no

19              counterclaim against Brian Dailey individually.

20              Brian Dailey individually has no responsibility

21              whatsoever.      If anything, it's Dailey Law Firm

22              and Dailey Law Firm doesn't have any

23              responsibility except $155,000.            I understand

24              there are different opinions on that, but that is

25              my position.      And there is no reason for a




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 1              counterclaim against attorney Brian Dailey.                   This

 2              is all Dailey Law Firm, and Dailey Law Firm can

 3              still assert a statute of limitations.                 In

 4              addition to that Dailey Law Firm has never been

 5              involved in a contractual relationship with any

 6              of these parties.        It's always been Ms. Ingram

 7              not Dailey Law Firm or Brian Dailey.                 There's no

 8              basis upon which to allow amendment for

 9              counterclaims.

10                             MS. EMERSON:       Your Honor, pursuant to

11              MCR 2.118(b)(1) amendments are routinely granted

12              to conform to the pleadings in the case or

13              discovery in the case.          We recently discovered he

14              continuously fails to interplead funds he had

15              admitted he has.         We think based upon that we




                                                                                          RECEIVED by MCOA 7/11/2023 1:11:58 PM
16              have a basis to assert a counterclaim regardless

17              it seems like he's arguing to the merits of our

18              counterclaim and third-party complaint.                 We

19              believe under Michigan Court Rule we have basis

20              to file those claims.          Again, those amendments

21              are granted freely as justice requires.                 We

22              believe justice requires an amendment based on

23              the facts that have developed in this case.

24                             MR. DAILEY:       Your Honor, briefly,

25              amendments are granted routinely; I agree.                   But




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 1              it doesn't breathe life in to a statute of

 2              limitations that's expired.           It doesn't give

 3              liability where there is no contractual liability

 4              to begin with.       It doesn't create a cause of

 5              action.     There is no cause of action.             This would

 6              be a futile amendment.          They need to amend their

 7              answer (inaudible) which is what this Court

 8              ordered when we were before you.             In terms of

 9              suing Brian Dailey or Dailey Law Firm on any

10              claim, there is no claim.           Dailey Law Firm and

11              Brian Dailey never was in any contractual

12              relationship or agreement with any of these

13              parties under any circumstances with one

14              exception, and that is Jody Ingram.             And Jody

15              Ingram signed my contingency fee agreements




                                                                                       RECEIVED by MCOA 7/11/2023 1:11:58 PM
16              approving what I did.          Nobody else has a

17              contractual against me individually or Dailey Law

18              Firm.    I would ask the Court to deny that relief.

19                             THE COURT:       I will decide that later

20              today.    Anything else?

21                             MR. DAILEY:       That's it, Judge.

22                             THE COURT:       Anything else from anyone

23              else?    You all have a good weekend.

24                             (Whereupon proceedings concluded.)

25                             -     -     -




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 1       STATE OF MICHIGAN )

 2                               )   SS

 3       COUNTY OF WAYNE         )

 4

 5

 6                R E P O R T E R' S            C E R T I F I C A T E

 7

 8                      I, Shelee Beard, CSR-5493, do hereby

 9       certify that I have transcribed the ZOOM proceedings

10       had in the above-entitled matter at the time and place

11       hereinbefore set forth and that the foregoing is a

12       true and correct transcript of proceedings.

13

14

15




                                                                                      RECEIVED by MCOA 7/11/2023 1:11:58 PM
16                            /s/   Shelee Beard
                              Shelee D. Beard, CSR-5493
17                            770 Coleman A. Young Municipal Center
                              Detroit, MI 48226
18                            (313) 224-0409

19

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21

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                        EXHIBIT “E”




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                  UNITED STATES BANKRUPTCY COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                             (DETROIT)

In Re:

Dailey Law Firm PC                  Case No. 23-45970-mlo
                                    Chapter 11
       Debtor.                      Hon. Maria L. Oxholm
__________________________________________________________________/

 ORDER CONFIRMING AUTOMATIC STAY IS NOT IN EFFECT AS TO
                 INTERPLEADER FUNDS

         Movant John Polderman, pre-petition State Court Appointed Receiver

(“Receiver”), having filed a Motion to Confirm Automatic Stay is Not in Effect;

Debtor having maintained IOLTA accounts with US Bank, Fifth Third Bank and

Huntington Bank (“IOLTA Accounts”), Debtor having also filed an interpleader

action in Wayne County Circuit Court (“State Court”), captioned The Dailey Law

Firm vs. Jody Ingram et. al., case no. 21-007081 (“Interpleader Case”), and the

Debtor having asserted in the Interpleader Case that $155,135.40 (“Interpleader

Funds”) is available to be interpled in the Interpleader Case, due notice and

opportunity for hearing having been given; no objection having been filed; and the

Court being duly advised in the premises;

         IT IS ORDERED that the Court finds that the Interpleader Funds are not

assets of the bankruptcy estate, and that the automatic stay does not apply to the

Receiver’s collection, receipt or administration of the Interpleader Funds.

         IT IS FURTHER ORDERED that the Debtor shall, within three (3) days of

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entry of this Order, cause the Interpleader Funds to be deposited with the Receiver,

either by certified check or wire transfer.

      IT IS FURTHER ORDERED that the Receiver shall hold the Interpleader

Funds pending further order of the State Court in the Interpleader Case.

      IT IS FURTHER ORDERED that the automatic stay is modified to allow the

State Court to hear motions and enter orders as to the disposition, allocation and

payment of the Interpleader Funds.

      IT IS FURTHER ORDERED that this Order is effective immediately upon

entry by this Court notwithstanding the provisions of FRBP 4001(a)(3).




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